Case 8:07-cr-00404-S_B-TBM Document 200 Filed 11/17/15 Page 1 of 2 PageID 642




                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION


UNITED STATES OF AMERICA

v.                                                      Case No. 8:07-CR-404-T-24TBM

OMAR RODRIGUEZ-GUIZAMANO
                        /

                                        ORDER

       In April 2014, the United States Sentencing Commission (“Commission”)

promulgated and submitted to Congress Amendment 782 to the United States Sentencing

Guidelines, which reduced the sentencing guidelines for some federal drug trafficking

offenders. Specifically, Amendment 782 reduced by two levels the offense levels in USSG

§ 2D1.1(c)’s Drug Quantity Table. In July 2014, the Commission promulgated Amendment

788 and amended USSG § 1B1.10, which made Amendment 782 retroactive (effective

November 1, 2014) but delayed until November 1, 2015 the effective date for orders

reducing prison terms based on Amendment 782. See United States v. Peak, 579 F.App'x

888, 891 n.1 (11th Cir. 2014).

       Before the Court is Defendant’s pro se Motion Pursuant to Amendment 782 USSG.

(Dkt. 181). After Defendant filed his motion for reduction pursuant to Amendment 782, the

Federal Public Defender was appointed solely for the purpose of determining whether the

Defendant is entitled to Amendment 782 relief. The Federal Public Defender has filed a

notice with the Court that they will not be filing a motion for sentence reduction on behalf

of Defendant because the amendment does not have the effect of lowering Defendant’s base
Case 8:07-cr-00404-S_B-TBM Document 200 Filed 11/17/15 Page 2 of 2 PageID 643




offense level. (Dkt. 189). The United States Probation Office’s memorandum states that

Defendant is not entitled to relief under Amendment 782 because the drug quantity table

remains at level 38 after applying Amendment 782 (Defendant was held accountable for

7,558 kilograms of cocaine). (Dkt. 171).

       The Court has reviewed the Federal Public Defender’s Notice, the Probation Office’s

Memorandum and the court file. Defendant is not entitled to a sentence reduction as a result

of Amendment 782 because the amendment does not have the effect of lowering Defendant’s

base offense level, which remains at level 38.    Accordingly, Defendant’s Motion for

sentence reduction is DENIED.

       DONE and ORDERED in Chambers at Tampa, Florida, on the 17th day of

November, 2015.




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Pro-se Defendant




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